IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

ENTRAL DIVISION

UNITED STATES OF AMERICA,

 

Plaintiff, No. CR19-3033-LTS-KEM
VS. NOTICE REGARDING ENTRY OFA
BLAKE ANTHONY GIBBINS PLEA OF GUILTY and
CONSENT TO PROCEED BEFORE
Defendant. A MAGISTRATE JUDGE

In the event the defendant decides at any time before trial to enter a plea of guiity,
the United States Magistrate Judge is authorized, with the consent of the defendant, to
conduct the proceedings required by FED. R. CRIM. P. 11, incident to the making of the
plea. If, after conducting such proceedings, the Magistrate Judge recommends that the
plea of guilty be accepted, a presentence investigation and report will be ordered pursuant
to FED. R. CRIM. P. 32. The assigned United States District Judge will then act on the
Magistrate Judge’s Report and Recommendation; and, if the plea of guilty is accepted, will
adjudicate guilt and schedule a sentencing hearing.

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case. I
understand that I have the right to have a United States District Judge presiding when I
enter my guilty plea and that I can exercise that right without any concern or reservations.
I request and consent to the United States Magistrate Judge conducting the proceedings
required by FED. R. CRIM. P. 11, incident to the making of such plea. I understand that
if my plea of guilty is then accepted by the District Judge, the District Judge will decide
whether to accept or reject any plea agreement J may have with the United States, and will
adjudicate guilt and impose sentence.

Date: Apex Z

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Defendant Defehdant’ s “Attorney

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